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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 19-cv-60607-BLOOM/Reid


 BENJAMIN SANDERS,

        Plaintiff,

 v.

 DOCTOR PIERSON,

       Defendant.
 ________________________/

 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATIONS

        THIS CAUSE is before the Court upon Plaintiff’s pro se Complaint, ECF Nos. [1], filed

 pursuant to 42 U.S.C. § 1983, which was previously referred to the Honorable Lisette M. Reid for

 a Report and Recommendations (“R&R”) on all dispositive matters. See ECF No. [2]. On May

 6, 2019, Judge Reid issued a R&R recommending that Plaintiff’s Complaint be permitted to

 proceed against Defendant Doctor Pierson. See ECF No. [6].

        The Court has conducted a de novo review of Judge Reid’s R&R and the record and is

 otherwise fully advised in the premises. See Williams v. McNeil, 557 F.3d 1287, 1291 (11th Cir.

 2009) (citing 28 U.S.C. § 636(b)(1)). Upon review, the Court finds Judge Reid’s R&R to be well

 reasoned and correct. The Court agrees with the analysis in Judge Reid’s R&R and concludes that

 Plaintiff’s Complaint should proceed.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. Magistrate Judge Reid’s R&R, ECF No. [6], is ADOPTED.

            2. Plaintiff’s Complaint shall proceed against Defendant Doctor Pierson on claims of

                deliberate indifference to a serious medical need and punitive damages.
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              3. Plaintiff shall submit a summons to the Clerk of Court for issuance and service by

                 the United States Marshal.

        DONE AND ORDERED in Chambers at Miami, Florida, on May 6, 2019.




                                                         ______________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE


 Copies to:

 The Honorable Lisette M. Reid

 Benjamin Sanders, pro se
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 Broward County Main Jail
 Inmate Mail/Parcels
 Post Office Box 9356
 Fort Lauderdale, FL 33310




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